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IN THE UNITED sTATEs DISTRICT coURT Fu_E,;) f
FoR THE WESTERN DISTRICT oF TENNESSEE “ §§ D_C_
WESTERN DIVISION 05 JUN 23 M
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UNrrEt) srA'rEs or AMERICA ) ' . )aé;'g;s,$fs
)
Plaintiff, )
)
vs ) cAsE No. 03-20212-1)
)
WAYNE EDMONDsoN )
)
Defendant. )
)

 

ORDER TO SURRENDER

 

The defendant, Wayne Edmondson, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to USP McCreary,
330 Federal Way, Pine Knot, Kentucky 42635 by 2:00 p.m. on FRIDAY, JULY 15, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she Will

report as ordered to the facility named above.

ENTERED this titng day orrune, 2005.

B ICE B. D ALD
UNITED STATES DISTRICT JUDGE

'fhis document entered on the docket sheet |n compliance
with ante 55 and/or azrb) mch on " "

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if coovicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

Notice of Distribution

This notice confirms a copy oi` the document docketed as number 63 in
case 2:03-CR-202]2 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

